Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 1 of 29 Page ID #:84




                     EXHIBIT 2
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 2 of 29 Page ID #:85
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 3 of 29 Page ID #:86
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 4 of 29 Page ID #:87
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 5 of 29 Page ID #:88
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 6 of 29 Page ID #:89
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 7 of 29 Page ID #:90
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 8 of 29 Page ID #:91
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 9 of 29 Page ID #:92
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 10 of 29 Page ID #:93
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 11 of 29 Page ID #:94
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 12 of 29 Page ID #:95
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 13 of 29 Page ID #:96
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 14 of 29 Page ID #:97
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 15 of 29 Page ID #:98
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 16 of 29 Page ID #:99
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 17 of 29 Page ID #:100
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 18 of 29 Page ID #:101
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 19 of 29 Page ID #:102
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 20 of 29 Page ID #:103
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 21 of 29 Page ID #:104
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 22 of 29 Page ID #:105
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 23 of 29 Page ID #:106
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 24 of 29 Page ID #:107
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 25 of 29 Page ID #:108
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 26 of 29 Page ID #:109
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 27 of 29 Page ID #:110
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 28 of 29 Page ID #:111
Case 2:25-cv-03053   Document 1-2   Filed 04/07/25   Page 29 of 29 Page ID #:112
